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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/893581712" data-vids="893581712" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;139 P.3d 695&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;In the Interest of &lt;span class="ldml-name"&gt;K.D.&lt;/span&gt;, a &lt;span class="ldml-role"&gt;minor child&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;K.D.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 05SC808&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;July 31, 2006&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;
&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="188" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="696" data-id="pagenumber_188"&gt;&lt;/span&gt; &lt;span data-paragraph-id="188" data-sentence-id="196" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Leo L. Finkelstein&lt;/span&gt;&lt;/span&gt;, Colorado Springs, Colorado, Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="269" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="269" data-sentence-id="277" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Nancy J. Walker-Johnson&lt;/span&gt;&lt;/span&gt;, Monument, Colorado, &lt;span class="ldml-role"&gt;Guardian ad litem&lt;/span&gt; for K.D., a minor child.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="365" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="365" data-sentence-id="373" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;El Paso County Department of Human Services&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Andrew C. Gorgey&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chief Deputy County Attorney&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;William Louis&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;County Attorney&lt;/span&gt;, Colorado Springs, Colorado, Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="552" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (MARTINEZ)"&gt;&lt;span data-paragraph-id="552" data-sentence-id="560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARTINEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="613" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="613" data-sentence-id="621" class="ldml-sentence"&gt;In this termination of parental rights case, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;-&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;, K.D. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, seeks review of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; holding&lt;/span&gt; affirming &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order terminating the parent-child legal relationship between him and his son, infant K.D. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"K.D."&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="613" data-sentence-id="876" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleexrelkd,no05ca0199,2005wl2803114oct27,2005" data-prop-ids="embeddedsentence_944,sentence_621"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. K.D.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 05CA0199&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2005 WL 2803114&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Oct. 27, 2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;not selected for official publication&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="613" data-sentence-id="984" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; consider whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; improperly relied upon &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s criminal conviction and resulting incarceration to work a forfeiture of parental rights under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr1-1" class="ldml-noteanchor" id="note-ref-fr1-1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="613" data-sentence-id="1185" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude it did not and affirm &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-parsed="true" data-ordinal_end="1" data-value="I. Facts and Proceedings" data-specifier="I" data-types="background" data-format="upper_case_roman_numeral" data-content-heading-label="I. Facts and Proceedings
" data-confidences="very_high" id="heading_1241" data-id="heading_1241"&gt;&lt;span data-paragraph-id="1241" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="1241" data-sentence-id="1241" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="1241" data-sentence-id="1244" class="ldml-sentence"&gt;Facts and Proceedings&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1266" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1266" data-sentence-id="1274" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;May 13, 2002&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;El Paso County Department of Human Services&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"County"&lt;/span&gt;)&lt;/span&gt; filed a Petition in Dependency and Neglect for K.D., the two-year-old child of J.M. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;.&lt;a href="#note-fr1-2" class="ldml-noteanchor" id="note-ref-fr1-2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1266" data-sentence-id="1461" class="ldml-sentence"&gt;At all times relevant to these proceedings, K.D. was under six years of age.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1538" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1538" data-sentence-id="1546" class="ldml-sentence"&gt;The Petition alleged that because of &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s suicidal ideations and depression, &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="697" data-id="pagenumber_1631"&gt;&lt;/span&gt;was unable to provide a safe and stable environment for K.D. &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; admitted the allegations in the Petition and K.D. was adjudicated dependent and neglected as to &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1803" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1803" data-sentence-id="1811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s whereabouts were unknown.&lt;/span&gt; &lt;span data-paragraph-id="1803" data-sentence-id="1846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; requested that service by publication of the petition in dependency and neglect be held in abeyance as to &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; based on a safety risk to &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1803" data-sentence-id="2000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; feared for her safety due to an alleged history of domestic violence between &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1803" data-sentence-id="2103" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was found residing in a Texas prison, where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was serving a four-year sentence for two counts of domestic violence causing bodily injury and one count of driving while intoxicated.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2292" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2292" data-sentence-id="2300" class="ldml-sentence"&gt;K.D. was adjudicated dependent and neglected as to &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; on or about &lt;span class="ldml-entity"&gt;October 29, 2002&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2292" data-sentence-id="2388" class="ldml-sentence"&gt;A treatment plan was subsequently approved by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2292" data-sentence-id="2451" class="ldml-sentence"&gt;The treatment plan required &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; to take a parenting class, maintain a job, complete a mental health evaluation, and participate in group therapy during his incarceration.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2625" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2625" data-sentence-id="2633" class="ldml-sentence"&gt;The legal and physical custody of K.D. was returned to &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; on &lt;span class="ldml-entity"&gt;August 1, 2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2625" data-sentence-id="2714" class="ldml-sentence"&gt;However, K.D. was placed back in foster care on &lt;span class="ldml-entity"&gt;April 21, 2004&lt;/span&gt;, upon &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s request.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2801" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2801" data-sentence-id="2809" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;May 19, 2004&lt;/span&gt;, the County moved to terminate the parent-child legal relationship between K.D. and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2801" data-sentence-id="2928" class="ldml-sentence"&gt;The County asserted &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had approved an appropriate treatment plan for K.D. and &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;, but that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; failed to reasonably comply with the terms of the treatment plan and that the plan had failed to rehabilitate &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2801" data-sentence-id="3162" class="ldml-sentence"&gt;In addition, the motion alleged &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; had had no contact with K.D. since his incarceration, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had surrendered physical custody of K.D. for a period of more than six months and had not manifested the firm intention to resume physical custody of K.D. or made permanent legal arrangements for the care of K.D. during this period of time.&lt;/span&gt; &lt;span data-paragraph-id="2801" data-sentence-id="3504" class="ldml-sentence"&gt;Thus, the County alleged, pursuant to C.R.S. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3504"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, no appropriate treatment plan could be devised for &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; and his parental rights should be terminated.&lt;/span&gt; &lt;span data-paragraph-id="2801" data-sentence-id="3687" class="ldml-sentence"&gt;Finally, the County asserted &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was an unfit parent and the conduct or condition rendering him unfit was unlikely to change in a reasonable time.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3837" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3837" data-sentence-id="3845" class="ldml-sentence"&gt;The County also moved for a permanency placement hearing under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3845"&gt;&lt;span class="ldml-cite"&gt;section 19-3-702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2005&lt;/span&gt;)&lt;/span&gt;, on the basis that there was not a substantial probability that K.D. would be returned to the physical custody of his parents within six months because &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was incarcerated and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; previously relinquished her parental rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4172" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4172" data-sentence-id="4180" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; denied the &lt;span class="ldml-entity"&gt;motion for termination&lt;/span&gt; of the parent-child relationship as to &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; on the basis that it was not proved by clear and convincing evidence that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; had abandoned K.D.&lt;/span&gt; &lt;span data-paragraph-id="4172" data-sentence-id="4370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; found &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; had reasonably complied with the treatment plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4442" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4442" data-sentence-id="4450" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; did note, however, that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s testimony raised concerns regarding domestic violence and his criminal history.&lt;/span&gt; &lt;span data-paragraph-id="4442" data-sentence-id="4573" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ordered the County to prepare an amended treatment plan of a short-term duration, with treatment goals approximately ninety days from the time of its adoption.&lt;/span&gt; &lt;span data-paragraph-id="4442" data-sentence-id="4743" class="ldml-sentence"&gt;The amended treatment plan was approved by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; on &lt;span class="ldml-entity"&gt;July 23, 2004&lt;/span&gt;, and required &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; to enroll and participate in a parenting class, to secure a job upon his release from prison, to find appropriate housing for him and his son after prison, to establish a healthy relationship with his son while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was in prison, to attend a thirty-six week domestic violence class, and to enroll and participate in a drug and alcohol program.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5177" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5177" data-sentence-id="5185" class="ldml-sentence"&gt;The County filed a &lt;span class="ldml-entity"&gt;second motion for termination&lt;/span&gt; of the parent-child relationship on &lt;span class="ldml-entity"&gt;October 27, 2004&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5177" data-sentence-id="5288" class="ldml-sentence"&gt;In its motion, the County alleged numerous statutory bases for terminating &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights, including the factors for termination addressed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5288"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5464" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5464" data-sentence-id="5472" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was denied parole on &lt;span class="ldml-entity"&gt;December 3, 2004&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="5518" class="ldml-sentence"&gt;At the second hearing to terminate &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; heard the testimony of &lt;span class="ldml-entity"&gt;William Seigman&lt;/span&gt; of the &lt;span class="ldml-entity"&gt;Texas Department of Criminal Justice&lt;/span&gt;, who testified by telephone regarding the denial of &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parole.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="5741" class="ldml-sentence"&gt;Seigman indicated that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was denied parole, in part, because the parole board considered him a continued threat to society.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="5870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also heard the testimony of the caseworker and K.D.'s therapist.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="5945" class="ldml-sentence"&gt;The caseworker stated that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="698" data-id="pagenumber_5979"&gt;&lt;/span&gt;had not complied with the treatment plan.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="6021" class="ldml-sentence"&gt;K.D.'s therapist indicated that K.D. had a strong relationship with his foster-adopt family.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="6114" class="ldml-sentence"&gt;Both the caseworker and therapist urged the immediate placement of K.D. in a permanent home.&lt;/span&gt; &lt;span data-paragraph-id="5464" data-sentence-id="6207" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; testified via telephone during the hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6258" data-sentence-id="6266" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; terminated &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6266"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6258" data-sentence-id="6348" class="ldml-sentence"&gt;In this regard, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found K.D. was adjudicated dependent and neglected, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had adopted an appropriate treatment plan and the County filed a timely &lt;span class="ldml-entity"&gt;motion for termination&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6258" data-sentence-id="6532" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; further found by clear and convincing evidence that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; failed to reasonably comply with the treatment plan and that the plan failed to rehabilitate him.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6699" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6699" data-sentence-id="6707" class="ldml-sentence"&gt;For these reasons, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; an unfit parent and concluded &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was unlikely to change within a reasonable time.&lt;/span&gt; &lt;span data-paragraph-id="6699" data-sentence-id="6831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found termination of the parent-child legal relationship to be in K.D.'s best interests.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6935" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6935" data-sentence-id="6943" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; appealed.&lt;/span&gt; &lt;span data-paragraph-id="6935" data-sentence-id="6960" class="ldml-sentence"&gt;In an unpublished opinion, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; affirmed the termination.&lt;/span&gt; &lt;span data-paragraph-id="6935" data-sentence-id="7034" class="ldml-sentence"&gt;Recognizing that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; considered &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s continued incarceration as a significant factor affecting his ability to parent K.D. and that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was not in a position to parent K.D. due in part to &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s continued incarceration, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; observed:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7305" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7305" data-sentence-id="7313" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;lthough &lt;span class="ldml-parenthetical"&gt;[F]&lt;/span&gt;ather had completed numerous programs in prison, and even if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; with his argument that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had substantially complied with the amended treatment plan, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; still was not in a position to parent his child.&lt;/span&gt; &lt;span data-paragraph-id="7305" data-sentence-id="7538" class="ldml-sentence"&gt;While &lt;span class="ldml-parenthetical"&gt;[F]&lt;/span&gt;ather's continued incarceration was a significant factor in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decision&lt;/span&gt; to terminate his parental rights, it was not the only factor &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered.&lt;/span&gt; &lt;span data-paragraph-id="7305" data-sentence-id="7717" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also considered the time spent by the child in foster care, the child's age, and the child's need for permanency.&lt;/span&gt; &lt;span data-paragraph-id="7305" data-sentence-id="7841" class="ldml-sentence"&gt;Given these considerations, and because &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s findings concerning compliance with and success of the treatment plan are supported by the evidence and comport with applicable law, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb them on review.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8068" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8068" data-sentence-id="8076" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People ex rel. K.D.,&lt;/i&gt; Slip op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 9-10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-parsed="true" data-ordinal_end="2" data-value="II. Analysis" data-specifier="II" data-types="analysis" data-format="upper_case_roman_numeral" data-content-heading-label="II. Analysis
" data-confidences="very_high" id="heading_8115" data-id="heading_8115"&gt;&lt;span data-paragraph-id="8115" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="8115" data-sentence-id="8115" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="8115" data-sentence-id="8119" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8128" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8128" data-sentence-id="8136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; contends &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt; improperly weighed the interests at stake by focusing on his continued incarceration rather than on his rehabilitative efforts and compliance with his treatment plan.&lt;/span&gt; &lt;span data-paragraph-id="8128" data-sentence-id="8338" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; argues, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order of termination effectively amounted to a forfeiture of his parental rights based upon his continued incarceration.&lt;/span&gt; &lt;span data-paragraph-id="8128" data-sentence-id="8498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; properly considered parental incarceration as one of several significant factors informing K.D.'s best interests.&lt;/span&gt; &lt;span data-paragraph-id="8128" data-sentence-id="8634" class="ldml-sentence"&gt;Consequently, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree with &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; and affirm &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-ordinal_end="1" data-value="A. The Children's Code" data-specifier="A" data-parsed="true" data-format="upper_case_letters" data-content-heading-label="A. The Children's Code
" id="heading_8705" data-id="heading_8705"&gt;&lt;span data-paragraph-id="8705" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="8705" data-sentence-id="8705" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="8705" data-sentence-id="8708" class="ldml-sentence"&gt;The Children's Code&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8728" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8728" data-sentence-id="8736" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Courts&lt;/span&gt; conducting dependency and neglect proceedings must be guided by the purposes underlying Colorado's Children's Code &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"Code"&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8736"&gt;&lt;span class="ldml-cite"&gt;sections 19-1-101 to 19-6-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2005&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8728" data-sentence-id="8918" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891981788" data-vids="891981788" class="ldml-reference" data-prop-ids="sentence_8736"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;L.A.G. v. People ex rel. A.A.G.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;912 P.2d 1385, 1391&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892251377" data-vids="892251377" class="ldml-reference" data-prop-ids="sentence_8736"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;City &amp; County of Denver v. Juvenile Ct.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;182 Colo. 157, 161-64&lt;/span&gt;, &lt;span class="ldml-cite"&gt;511 P.2d 898, 900-01&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887595508" data-vids="887595508" class="ldml-reference" data-prop-ids="sentence_8736"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Johnson v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;170 Colo. 137, 141-42, 144&lt;/span&gt;, &lt;span class="ldml-cite"&gt;459 P.2d 579, 581-82&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleexrelre,721p2d1233,1235coloapp1986" data-prop-ids="sentence_8736"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. R.E.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;721 P.2d 1233, 1235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8728" data-sentence-id="9219" class="ldml-sentence"&gt;The Code strives to preserve the family while simultaneously ensuring the child's best interest and welfare.&lt;/span&gt; &lt;span data-paragraph-id="8728" data-sentence-id="9328" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888641797" data-vids="888641797" class="ldml-reference" data-prop-ids="sentence_9219"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. C.A.K.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;652 P.2d 603, 610-11&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8728" data-sentence-id="9389" class="ldml-sentence"&gt;To wit, the purposes of the Code are:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9427" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9427" data-sentence-id="9435" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; To secure for each child subject to these provisions such care and guidance, preferably in his own home, as will &lt;i class="ldml-italics"&gt;best serve his welfare&lt;/i&gt; and the interests of society;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9605" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9605" data-sentence-id="9613" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; To &lt;i class="ldml-italics"&gt;preserve and strengthen family ties&lt;/i&gt; whenever possible, including improvement of home environment;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9718" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9718" data-sentence-id="9726" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; To remove a child from the custody of his parents only when his welfare and safety or the protection of the public would otherwise be endangered and, in either instance, for &lt;span class="ldml-entity"&gt;the courts&lt;/span&gt; to proceed with all possible speed to a legal determination
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="699" data-id="pagenumber_9975"&gt;&lt;/span&gt;that will serve the &lt;i class="ldml-italics"&gt;best interests of the child;&lt;/i&gt; and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10028" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10028" data-sentence-id="10036" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; To secure for any child removed from the custody of his parents the necessary care, guidance, and discipline to assist him in becoming a responsible and productive member of society.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10223" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10223" data-sentence-id="10231" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10223" data-sentence-id="10278" class="ldml-sentence"&gt;The General Assembly implemented expedited placement procedures in designated counties to serve the interests and needs specific to children under the age of six:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10441" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10441" data-sentence-id="10449" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he general assembly recognizes the numerous studies establishing that children undergo a critical bonding and attachment process &lt;i class="ldml-italics"&gt;prior to the time &lt;span class="ldml-entity"&gt;they&lt;/span&gt; reach six years of age.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="10441" data-sentence-id="10628" class="ldml-sentence"&gt;Such studies further disclose that a &lt;i class="ldml-italics"&gt;child who has not bonded with a primary adult during this critical stage will suffer significant emotional damage&lt;/i&gt; which frequently leads to chronic psychological problems and antisocial behavior when the child reaches adolescence and adulthood.&lt;/span&gt; &lt;span data-paragraph-id="10441" data-sentence-id="10910" class="ldml-sentence"&gt;Accordingly, the general assembly finds and declares that it is appropriate to provide an expedited placement procedure to ensure that children under the age of six years who have been removed from their homes are placed in permanent homes as expeditiously as possible.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11180" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11180" data-sentence-id="11188" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-102&lt;span class="ldml-parenthetical"&gt;(1.6)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11180" data-sentence-id="11237" class="ldml-sentence"&gt;Under the Code's expedited placement procedures, a child under the age of six must be placed in a permanent home no later than twelve months after the original placement out of the home unless the best interests of the child dictate otherwise.&lt;/span&gt; &lt;span data-paragraph-id="11180" data-sentence-id="11481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11237"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-703, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11508" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11508" data-sentence-id="11516" class="ldml-sentence"&gt;A child may be placed out of the home if adjudicated dependent or neglected as defined in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11516"&gt;&lt;span class="ldml-cite"&gt;section 19-3-102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2005&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="11639" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11516"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-508, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="11670" class="ldml-sentence"&gt;A &lt;span class="ldml-quotation quote"&gt;"dependent or neglected child"&lt;/span&gt; includes a child lacking proper parental care through &lt;span class="ldml-entity"&gt;the acts&lt;/span&gt; or omissions of the parent as well as a child whose parent refuses to provide care necessary for the child's health, guidance or well-being.&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="11907" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofea,638p2d278,285colo1981" data-prop-ids="sentence_11670"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. E.A.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;638 P.2d 278, 283&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11670"&gt;&lt;span class="ldml-cite"&gt;§§ 19-1-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; 19-3-102, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2005&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="12000" class="ldml-sentence"&gt;In a dependency or neglect hearing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determines whether the child lacks &lt;span class="ldml-quotation quote"&gt;"the benefit of parental guidance, concern, protection or support to which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is entitled."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="12173" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12000"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;internal quotations omitted&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofsst,38coloapp110,113,553p2d82,861976" data-prop-ids="sentence_12000"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. S.S.T.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;38 Colo.App. 110, 117&lt;/span&gt;, &lt;span class="ldml-cite"&gt;553 P.2d 82, 89&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="12287" class="ldml-sentence"&gt;Consistent with the Code's emphasis on the child's best interests, such adjudications &lt;span class="ldml-quotation quote"&gt;"are not made as to the parents but, rather, relate only to the status of the child as of the date of the adjudication."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11508" data-sentence-id="12494" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888728235" data-vids="888728235" class="ldml-reference" data-prop-ids="sentence_12287"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. S.B.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;742 P.2d 935, 939&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofpds,669p2d627,627–28coloapp1983" data-prop-ids="sentence_12287"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. P.D.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;669 P.2d 627, 627-28&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12620" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12620" data-sentence-id="12628" class="ldml-sentence"&gt;When a child has been adjudicated dependent or neglected, but the decree does not terminate the parent-child legal relationship, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must approve an appropriate treatment plan to meet the child's needs.&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="12837" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12628"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-508&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="12867" class="ldml-sentence"&gt;In approving a treatment plan, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; strives &lt;span class="ldml-quotation quote"&gt;"to preserve the parent-child relationship by assisting the parent in overcoming the problems that required the intervention."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="13043" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleexrelmm,726p2d1108,1125colo1986" data-prop-ids="sentence_12867"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. M.M.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;726 P.2d 1108, 1121&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="13097" class="ldml-sentence"&gt;Hence, an &lt;span class="ldml-quotation quote"&gt;"appropriate"&lt;/span&gt; treatment plan &lt;span class="ldml-quotation quote"&gt;"is reasonably calculated to render the particular &lt;span class="ldml-parenthetical"&gt;[parent]&lt;/span&gt; fit to provide adequate parenting to the child within a reasonable time"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"relates to the child's needs."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="13305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13097"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-103&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="13336" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Appropriateness is measured by the likelihood of success in reuniting the family, which must be assessed in light of the facts &lt;i class="ldml-italics"&gt;existing at the time of the plan's approval.&lt;/i&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12620" data-sentence-id="13510" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13336"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13532" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13532" data-sentence-id="13540" class="ldml-sentence"&gt;A successful treatment plan corrects or improves the parent's conduct or condition or renders the parent fit.&lt;/span&gt; &lt;span data-paragraph-id="13532" data-sentence-id="13650" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888641797" data-vids="888641797" class="ldml-reference" data-prop-ids="sentence_13540"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. C.A.K.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;652 P.2d at 611&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13532" data-sentence-id="13690" class="ldml-sentence"&gt;However, even a parent's substantial compliance with a plan may not render the parent fit.&lt;/span&gt; &lt;span data-paragraph-id="13532" data-sentence-id="13781" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888641797" data-vids="888641797" class="ldml-reference" data-prop-ids="sentence_13690"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13532" data-sentence-id="13785" class="ldml-sentence"&gt;Success of a treatment plan involving a child under the age of six cannot be found if&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13871" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13871" data-sentence-id="13879" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he parent exhibits the same problems addressed in the treatment plan without adequate improvement, including but not limited to improvement in the relationship with the child, and is &lt;i class="ldml-italics"&gt;unable&lt;/i&gt; or unwilling to provide nurturing and safe parenting sufficiently adequate &lt;i class="ldml-italics"&gt;to meet the child's physical, emotional, and mental health needs and conditions.&lt;/i&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="700" data-id="pagenumber_14228"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14228" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14228" data-sentence-id="14236" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14292" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14292" data-sentence-id="14300" class="ldml-sentence"&gt;Hence, a &lt;span class="ldml-quotation quote"&gt;"reasonable time"&lt;/span&gt; is relative and determined by the child's physical, mental, and emotional conditions and needs.&lt;/span&gt; &lt;span data-paragraph-id="14292" data-sentence-id="14423" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14300"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14292" data-sentence-id="14453" class="ldml-sentence"&gt;In determining whether the parent's conduct will meet the child's needs within a reasonable time, the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;court&lt;/span&gt; may consider whether any change has occurred during the pendency of the proceeding, the parent's social history, and the chronic or long-term nature of the parent's conduct or condition."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14292" data-sentence-id="14750" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofdlc,70p3d584,588–89coloapp2003" data-prop-ids="sentence_14453"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. D.L.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;70 P.3d 584, 588-89&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14810" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14810" data-sentence-id="14818" class="ldml-sentence"&gt;Although treatment plans serve an important role in preserving the parent-child relationship, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may nonetheless determine that it cannot devise an appropriate treatment plan where&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15006" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15006" data-sentence-id="15014" class="ldml-sentence"&gt;the child has been abandoned as set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15014"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the parents cannot be located, or because the child has been adjudicated as neglected or dependent based upon &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15014"&gt;&lt;span class="ldml-cite"&gt;section 19-3-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or due to the unfitness of the parents as set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15014"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15296" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15296" data-sentence-id="15304" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-508&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15296" data-sentence-id="15340" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may terminate the parent-child relationship without devising a treatment plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15454" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15462" class="ldml-sentence"&gt;Termination of parental rights is a decision of paramount gravity affecting a parent's fundamental interest in the care, custody and management of his or her child.&lt;/span&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15627" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886235408" data-vids="886235408" class="ldml-reference" data-prop-ids="sentence_15462"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. M.C.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;641 P.2d 306, 308&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15689" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; must exercise extreme caution in terminating such rights.&lt;/span&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886235408" data-vids="886235408" class="ldml-reference" data-prop-ids="sentence_15689"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15772" class="ldml-sentence"&gt;Accordingly, strict compliance by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; with the appropriate standards for termination of a parent-child relationship is an absolute necessity.&lt;/span&gt; &lt;span data-paragraph-id="15454" data-sentence-id="15926" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886235408" data-vids="886235408" class="ldml-reference" data-prop-ids="sentence_15772"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15930" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15930" data-sentence-id="15938" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Section&lt;/span&gt; &lt;span class="ldml-cite"&gt;19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, sets forth three bases on which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may terminate the parent-child legal relationship.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="16067" class="ldml-sentence"&gt;First, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16067"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may terminate parental rights if the child has been abandoned by his or her parents.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="16197" class="ldml-sentence"&gt;Second, under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; may terminate parental rights if it finds by clear and convincing evidence that the child has been adjudicated dependent or neglected on any ground and that no appropriate treatment plan can be devised to address the unfitness of the parent or parents.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="16517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16197"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="16535" class="ldml-sentence"&gt;In determining that no treatment plan can be devised to address parental unfitness, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must rely on: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; a parent's mental illness and its duration; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; a single incident that injured or disfigured the child; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the long-term confinement of the parent.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="16799" class="ldml-sentence"&gt;Finally, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16799"&gt;&lt;span class="ldml-cite"&gt;section 193&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; may, as here, terminate the parent-child relationship upon the finding by clear and convincing evidence that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the child has been adjudicated dependent or neglected; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; an appropriate treatment plan has not been complied with by the parent, has not been successful, or could not be devised; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the parent is unfit; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the parent's conduct or condition is unlikely to change within a reasonable time.&lt;/span&gt; &lt;span data-paragraph-id="15930" data-sentence-id="17262" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893408485" data-vids="893408485" class="ldml-reference" data-prop-ids="sentence_16799"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. A.M.D.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;648 P.2d 625, 631&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889118267" data-vids="889118267" class="ldml-reference" data-prop-ids="sentence_16799"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. A.N.W.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;976 P.2d 365, 370&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17374" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17374" data-sentence-id="17382" class="ldml-sentence"&gt;Both &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17382"&gt;&lt;span class="ldml-cite"&gt;sections 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require a determination that the parent is &lt;span class="ldml-quotation quote"&gt;"unfit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17374" data-sentence-id="17474" class="ldml-sentence"&gt;A determination of parental unfitness is intertwined with a determination of the child's best interests.&lt;/span&gt; &lt;span data-paragraph-id="17374" data-sentence-id="17579" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"An unfit parent is one whose conduct or condition renders him or her unable to give a child reasonable parental care.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Reasonable parental care requires, at a minimum, that the parent provide nurturing and protection adequate to meet the child's physical, mental, and emotional health needs."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17374" data-sentence-id="17872" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17579"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofdlc,70p3d584,588–89coloapp2003" data-prop-ids="sentence_17579"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. D.L.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;70 P.3d at 588&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17374" data-sentence-id="17941" class="ldml-sentence"&gt;With this background in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn to parental incarceration as a factor affecting parental fitness.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-ordinal_end="2" data-value="B. Parental Incarceration" data-specifier="B" data-parsed="true" data-format="upper_case_letters" data-content-heading-label="B. Parental Incarceration
" id="heading_18045" data-id="heading_18045"&gt;&lt;span data-paragraph-id="18045" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="18045" data-sentence-id="18045" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="18045" data-sentence-id="18048" class="ldml-sentence"&gt;Parental Incarceration&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="18071" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18071" data-sentence-id="18079" class="ldml-sentence"&gt;Parental incarceration alone is an insufficient basis on which to terminate parental rights.&lt;/span&gt; &lt;span data-paragraph-id="18071" data-sentence-id="18172" class="ldml-sentence"&gt;Prior to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s adoption of the Code in &lt;span class="ldml-entity"&gt;1963&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; held a felony conviction alone does not work a forfeiture of parental rights: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; cannot hold that every convicted felon, by that fact alone, loses all parental rights in children. . . .&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It is not one of the punishments prescribed by law that conviction of a felony works also for forfeiture of parental rights."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18071" data-sentence-id="18553" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895824492" data-vids="895824492" class="ldml-reference" data-prop-ids="sentence_18172"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Diernfeld v. People&lt;/span&gt;,&lt;/i&gt;
&lt;span class="ldml-cite"&gt;&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="701" data-id="pagenumber_18574"&gt;&lt;/span&gt;137 Colo. 238, 244&lt;/span&gt;, &lt;span class="ldml-cite"&gt;323 P.2d 628, 631&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1958&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893474000" data-vids="893474000" class="ldml-reference" data-prop-ids="embeddedsentence_18691,sentence_18172"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Ziemer v. Wheeler&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;89 Colo. 242, 242&lt;/span&gt;, &lt;span class="ldml-cite"&gt;1 P.2d 579, 581&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1931&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; took judicial notice of the fact that &lt;span class="ldml-entity"&gt;plaintiff&lt;/span&gt; had, at some time, been convicted of a violation of the prohibitory law of this state, but this fact alone would not justify it in taking from the parent the custody and control of his children."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18071" data-sentence-id="18954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; did not hold, however, that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; is precluded from considering parental incarceration.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19053" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19061" class="ldml-sentence"&gt;With the adoption of the Code, the General Assembly likewise permitted &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; to consider parental incarceration in termination proceedings.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19208" class="ldml-sentence"&gt;In this regard, the Code makes clear that parental incarceration informs &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s fitness inquiry: &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; may, and in some &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; must, consider parental incarceration in determining fitness.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19409" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19208"&gt;&lt;span class="ldml-cite"&gt;§§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19208"&gt;&lt;span class="ldml-cite"&gt;19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19448" class="ldml-sentence"&gt;Concerning the long-term confinement of the parent as a basis for unfitness, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19448"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; sets forth two relevant classes, those who will be confined for more than six years and those who will be confined for less than six years, but for at least thirty-six months.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofeic,958p2d511,513-14coloapp1998" data-prop-ids="sentence_19448"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. E.I.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;958 P.2d 511, 514&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="19787" class="ldml-sentence"&gt;Without regard to the child's age, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; may terminate parental rights if the parent is confined and not eligible for parole for at least six years after the date the child was adjudicated dependent or neglected and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; cannot devise an appropriate treatment plan to address parental unfitness.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="20098" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19787"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="20121" class="ldml-sentence"&gt;Alternatively, if the subject child is under the age of six when the petition is filed, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; may terminate parental rights if the parent is confined and not eligible for parole for at least thirty-six months after the date the child is adjudicated dependent or neglected and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; cannot devise an appropriate treatment plan to address parental unfitness.&lt;/span&gt; &lt;span data-paragraph-id="19053" data-sentence-id="20492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20121"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20515" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20523"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; also specifies parental incarceration as a factor informing parental fitness.&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20624"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; enumerates factors &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall consider"&lt;/span&gt; in determining a parent &lt;span class="ldml-quotation quote"&gt;"unfit"&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20624"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="20752" class="ldml-sentence"&gt;These factors include — but are not limited to — conduct towards the child of a physically or sexually abusive nature; history of violent behavior; a single incident of life-threatening or serious bodily injury or disfigurement of the child; excessive use of intoxicating liquors or controlled substances; neglect of the child; and the length of time the child has been in foster care.&lt;/span&gt; &lt;span data-paragraph-id="20515" data-sentence-id="21138" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20752"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21153" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21153" data-sentence-id="21161" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall consider"&lt;/span&gt; any one of the bases for a finding of parental unfitness contained in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21161"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21153" data-sentence-id="21295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21161"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21153" data-sentence-id="21313" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must consider an incarceration of at least six years after the date the child was adjudicated dependent or neglected and an incarceration of at least thirty-six months after the date a child under the age of six was adjudicated dependent or neglected.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21587" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21587" data-sentence-id="21595" class="ldml-sentence"&gt;The requirement that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; consider &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21595"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in determining parental fitness under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21595"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not preclude &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; from considering periods of incarceration not specified therein.&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="21812" class="ldml-sentence"&gt;As noted above, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must &lt;span class="ldml-quotation quote"&gt;"give primary consideration to the physical, mental, and emotional conditions and needs of the child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="21946" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21812"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892174875" data-vids="892174875" class="ldml-reference" data-prop-ids="embeddedsentence_22043,sentence_21812"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. M.M.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;184 Colo. 298, 303&lt;/span&gt;, &lt;span class="ldml-cite"&gt;520 P.2d 128, 131&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;primary and controlling issue in termination proceedings, even though parental rights are at stake, is the determination of what will best serve the interests and welfare of the child&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="22229" class="ldml-sentence"&gt;Depending on the particular facts of &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;, a period of incarceration under thirty-six months may affect the child's physical, mental, and emotional conditions and needs.&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="22401" class="ldml-sentence"&gt;Under such circumstances, a period of incarceration for fewer than thirty-six months may affect the parent's ability to become fit within a reasonable period of time.&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="22568" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891746125" data-vids="891746125" class="ldml-reference" data-prop-ids="sentence_22401"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. M.H.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;10 P.3d 713, 714&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21587" data-sentence-id="22623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; see nothing in the Code precluding &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; from considering even a relatively short period of parental incarceration as a significant factor in determining fitness.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22799" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22799" data-sentence-id="22807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22807"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; also requires &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to consider that a child has been in foster care for fifteen of the past twenty-two months.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="22949" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22807"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(k)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="22982" class="ldml-sentence"&gt;However, if the child has been in foster care for such duration &lt;span class="ldml-quotation quote"&gt;"due to circumstances beyond
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="702" data-id="pagenumber_23075"&gt;&lt;/span&gt;the control of the parent such as incarceration of the parent for a reasonable period of time,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; is not required to consider this circumstance.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="23228" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22982"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(k)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="23265" class="ldml-sentence"&gt;This exception does not exclude from consideration &lt;span class="ldml-quotation quote"&gt;"the time the child has been in foster care as a factor bearing upon the larger issue of whether termination is in the best interests of the child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="23465" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891746125" data-vids="891746125" class="ldml-reference" data-prop-ids="sentence_23265"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. M.H.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;10 P.3d at 714&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23265"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="23525" class="ldml-sentence"&gt;Rather, the parental incarceration exception merely makes the duration of foster care a discretionary factor in the fitness inquiry: in determining unfitness, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall consider, but not be limited to, the enumerated factors.&lt;/span&gt; &lt;span data-paragraph-id="22799" data-sentence-id="23757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23525"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23772" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23772" data-sentence-id="23780" class="ldml-sentence"&gt;The General Assembly did not intend to prevent &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; from considering the duration of foster care and the child's need for permanency in relationship to the length of parental incarceration.&lt;/span&gt; &lt;span data-paragraph-id="23772" data-sentence-id="23973" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may consider parental incarceration as a factor in determining parental fitness and, thereby, as a factor affecting the needs of a child who has been adjudicated dependent or neglected.&lt;/span&gt; &lt;span data-paragraph-id="23772" data-sentence-id="24175" class="ldml-sentence"&gt;If a parent cannot be expected to provide a stable home atmosphere for the child within a reasonable period, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s compelling interest in the welfare of the subject child justifies the termination of that parent's rights.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="3" data-ordinal_end="3" data-value="III. Application" data-specifier="III" data-parsed="true" data-format="upper_case_roman_numeral" data-content-heading-label="III. Application
" id="heading_24403" data-id="heading_24403"&gt;&lt;span data-paragraph-id="24403" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="24403" data-sentence-id="24403" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="24403" data-sentence-id="24408" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="24420" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24420" data-sentence-id="24428" class="ldml-sentence"&gt;The credibility of the witnesses and the sufficiency, probative value, and weight of the evidence, as well as the inferences and conclusions to be drawn from it, are within the discretion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24420" data-sentence-id="24636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888641797" data-vids="888641797" class="ldml-reference" data-prop-ids="sentence_24428"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People ex rel. C.A.K.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;652 P.2d at 612&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24420" data-sentence-id="24688" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s findings and conclusions will not be disturbed on review if the record supports them.&lt;/span&gt; &lt;span data-paragraph-id="24420" data-sentence-id="24796" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888641797" data-vids="888641797" class="ldml-reference" data-prop-ids="sentence_24688"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24800" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24800" data-sentence-id="24808" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; devised a treatment plan, but subsequently terminated &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights with K.D. pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24808"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; had not reasonably complied with his treatment plan, was unfit, and would not change his conduct within a reasonable time.&lt;/span&gt; &lt;span data-paragraph-id="24800" data-sentence-id="25092" class="ldml-sentence"&gt;The record discloses substantial evidence to support the findings of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental unfitness was of such duration and nature so as to render him unlikely, within a reasonable time, to provide care necessary for K.D.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25333" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25333" data-sentence-id="25341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; anticipated that, when the amended treatment plan was approved in &lt;span class="ldml-entity"&gt;July 2004&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; would be paroled from the &lt;span class="ldml-entity"&gt;Texas Department of Corrections&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25333" data-sentence-id="25500" class="ldml-sentence"&gt;During the termination hearing, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; stated: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"I think &lt;span class="ldml-entity"&gt;people&lt;/span&gt; were anticipating that &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;]&lt;/span&gt; was going to be released from the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt;. . . .&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; approved the amended treatment for &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;]&lt;/span&gt; on &lt;span class="ldml-entity"&gt;July 23, 2004&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It was expected, again, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'d get out of prison.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; had between July and December."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25833" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25833" data-sentence-id="25841" class="ldml-sentence"&gt;As a result, the amended treatment plan contained objectives that could be accomplished only if &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; were granted parole.&lt;/span&gt; &lt;span data-paragraph-id="25833" data-sentence-id="25965" class="ldml-sentence"&gt;For example, the treatment plan required &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; to provide a safe and nurturing environment for K.D. and, once &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was released from prison, to secure and maintain employment and obtain an appropriate residence for himself and K.D.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26200" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26200" data-sentence-id="26208" class="ldml-sentence"&gt;The denial of &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parole and his continued incarceration thus precluded his compliance with many aspects of the amended treatment plan.&lt;/span&gt; &lt;span data-paragraph-id="26200" data-sentence-id="26349" class="ldml-sentence"&gt;It was further indicated that the earliest date &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; would be available to begin compliance with the required treatment plan would be December of &lt;span class="ldml-entity"&gt;2005&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26200" data-sentence-id="26503" class="ldml-sentence"&gt;The County's evidence showed that, once released, it could take at least one year before &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; could take custody of K.D.&lt;/span&gt; &lt;span data-paragraph-id="26200" data-sentence-id="26626" class="ldml-sentence"&gt;Accordingly, the amended treatment plan was not successful.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26686" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26686" data-sentence-id="26694" class="ldml-sentence"&gt;Of particular concern to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; in determining &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s fitness under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26694"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was the rationale underlying the denial of &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parole.&lt;/span&gt; &lt;span data-paragraph-id="26686" data-sentence-id="26853" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;William Seigmen&lt;/span&gt;, a director of the &lt;span class="ldml-entity"&gt;Texas Department of Criminal Justice&lt;/span&gt;'s parole division, testified that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; had been eligible for parole since November of &lt;span class="ldml-entity"&gt;2002&lt;/span&gt;, but that parole had been previously denied.&lt;/span&gt; &lt;span data-paragraph-id="26686" data-sentence-id="27063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s release was also denied on &lt;span class="ldml-entity"&gt;December 3, 2004&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would not be eligible for consideration until &lt;span class="ldml-entity"&gt;December 2005&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27185" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27185" data-sentence-id="27193" class="ldml-sentence"&gt;Seigman indicated that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was denied release in part because his good time credit &lt;span class="ldml-quotation quote"&gt;"was not an accurate reflection of his rehabilitation
&lt;span class="ldml-pagenumber" data-vol="139" data-rep="P.3d" data-page_type="labeled_number" data-val="703" data-id="pagenumber_27333"&gt;&lt;/span&gt;and that his release may cause public harm."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27185" data-sentence-id="27378" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; remarked on this rationale at the termination hearing: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Disturbing to &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; is &lt;span class="ldml-parenthetical"&gt;[that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;]&lt;/span&gt; was eligible for release, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; didn't make release because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; — the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt; in Texas believe &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a danger to society.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;If &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a danger to society, then &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a danger to that little boy."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27700" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27700" data-sentence-id="27708" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; emphasized that &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was unable to be a &lt;span class="ldml-quotation quote"&gt;"meaningful"&lt;/span&gt; &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27700" data-sentence-id="27794" class="ldml-sentence"&gt;That is, &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; was unable to meet the physical, mental, and emotional needs of K.D.:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27880" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27880" data-sentence-id="27888" class="ldml-sentence"&gt;And when I say &lt;span class="ldml-quotation quote"&gt;"meaningful,"&lt;/span&gt; I mean someone available all the time.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="27956" class="ldml-sentence"&gt;The parent there to read to the little boy.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28000" class="ldml-sentence"&gt;The parent there to give him a bath.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28037" class="ldml-sentence"&gt;The parent there to talk to the teachers.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28079" class="ldml-sentence"&gt;The parent there to go see how &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'s doing in school.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28132" class="ldml-sentence"&gt;The parent to take him to the doctor when &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'s sick, or for his — his monthly — or for his check-ups as &lt;span class="ldml-entity"&gt;he&lt;/span&gt; needs.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28246" class="ldml-sentence"&gt;Somebody there to put Band-Aids on his knees whenever &lt;span class="ldml-entity"&gt;he&lt;/span&gt; falls down.&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28315" class="ldml-sentence"&gt;That's what &lt;span class="ldml-entity"&gt;we&lt;/span&gt; mean when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[say]&lt;/span&gt; meaningful dad. . . .&lt;/span&gt; &lt;span data-paragraph-id="27880" data-sentence-id="28371" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;]&lt;/span&gt; has not been that parent to . . . the little boy, and &lt;span class="ldml-parenthetical"&gt;[ &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s]&lt;/span&gt; not going to be that parent, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'s gonna be in prison yet for another year.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28529" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28529" data-sentence-id="28537" class="ldml-sentence"&gt;Also apparent from the testimony of the caseworker was &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s insufficient progress in accepting responsibility for his history of domestic abuse.&lt;/span&gt; &lt;span data-paragraph-id="28529" data-sentence-id="28686" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; blamed the victims of his crimes for provoking his behavior and the military for training him to be aggressive.&lt;/span&gt; &lt;span data-paragraph-id="28529" data-sentence-id="28801" class="ldml-sentence"&gt;On these bases, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; found &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; unfit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28853" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28853" data-sentence-id="28861" class="ldml-sentence"&gt;In light of the protracted nature of K.D.'s dependency and neglect proceedings, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; focused heavily on K.D.'s need for a stable environment and for permanency within a reasonable time in terminating &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights.&lt;/span&gt; &lt;span data-paragraph-id="28853" data-sentence-id="29092" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s incarceration, as well as the circumstances of his incarceration, informed &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s inquiry into &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental fitness and his ability to meet K.D.'s physical, mental, and emotional needs within a reasonable time.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29328" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29328" data-sentence-id="29336" class="ldml-sentence"&gt;As noted above, the Code places a twelve-month deadline on permanency placements for children who are under six years of age when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are first placed out of the home.&lt;/span&gt; &lt;span data-paragraph-id="29328" data-sentence-id="29505" class="ldml-sentence"&gt;At age five, K.D. had been in and out of placement for over two-and-a-half years.&lt;/span&gt; &lt;span data-paragraph-id="29328" data-sentence-id="29587" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; spent twenty-four of the thirty-two months in three separate foster homes.&lt;/span&gt; &lt;span data-paragraph-id="29328" data-sentence-id="29665" class="ldml-sentence"&gt;And, having been out of the home for the majority of that time, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; concluded &lt;span class="ldml-quotation quote"&gt;"enough was enough"&lt;/span&gt; and K.D. could not wait the additional time required for &lt;span class="ldml-entity"&gt;Father&lt;/span&gt; to become fit.&lt;/span&gt; &lt;span data-paragraph-id="29328" data-sentence-id="29854" class="ldml-sentence"&gt;Indeed, in &lt;span class="ldml-entity"&gt;December 2004&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had already permitted more than twice the allowable time period of twelve months to establish permanency for a child of K.D.'s age.&lt;/span&gt; &lt;span data-paragraph-id="29328" data-sentence-id="30028" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29854"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-703&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30044" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30052" class="ldml-sentence"&gt;The record established that K.D. needed permanency and stability.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30118" class="ldml-sentence"&gt;When first placed in foster care, K.D. displayed aggressive behaviors and did not understand social limits on his behavior.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30242" class="ldml-sentence"&gt;A caseworker testified that K.D.'s behavioral issues derived from his separation from &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; and domestic violence by &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30368" class="ldml-sentence"&gt;K.D.'s caseworker and therapist believed it was in K.D.'s best interests to have an immediate permanency placement.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30484" class="ldml-sentence"&gt;In this regard, the testimony indicated K.D. had a &lt;span class="ldml-quotation quote"&gt;"very strong relationship"&lt;/span&gt; with his foster-adopt family, with whom &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been placed for approximately thirty months.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30654" class="ldml-sentence"&gt;In addition, the foster-adopt family was ready, willing, and able to adopt K.D.&lt;/span&gt; &lt;span data-paragraph-id="30044" data-sentence-id="30734" class="ldml-sentence"&gt;To provide this permanency, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; found it was in the best interests of K.D. to terminate the parent-child relationship.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30865" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30865" data-sentence-id="30873" class="ldml-sentence"&gt;The record makes clear that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not simply look at the &lt;span class="ldml-quotation quote"&gt;"fact"&lt;/span&gt; of &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s incarceration and terminate his parental rights.&lt;/span&gt; &lt;span data-paragraph-id="30865" data-sentence-id="31012" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; carefully considered how &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s continued incarceration affected his fitness and his corresponding ability to meet K.D.'s needs within a reasonable time.&lt;/span&gt; &lt;span data-paragraph-id="30865" data-sentence-id="31192" class="ldml-sentence"&gt;Hence, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s termination order enjoys record support and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not disturb it.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="4" data-parsed="true" data-ordinal_end="4" data-value="IV. Conclusion" data-specifier="IV" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label="IV. Conclusion
" data-confidences="very_high" id="heading_31295" data-id="heading_31295"&gt;&lt;span data-paragraph-id="31295" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="31295" data-sentence-id="31295" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="31295" data-sentence-id="31299" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="31310" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31310" data-sentence-id="31318" class="ldml-sentence"&gt;Accordingly, the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; is affirmed.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31381" class="ldml-paragraph "&gt;&lt;a href="#note-ref-fr1-1" class="ldml-notemarker" id="note-fr1-1"&gt;1.&lt;/a&gt; &lt;span data-paragraph-id="31381" data-sentence-id="31382" class="ldml-sentence"&gt;Because the relevant &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; remain unchanged, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cite the current statutory compilation.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31473" class="ldml-paragraph "&gt;&lt;a href="#note-ref-fr1-2" class="ldml-notemarker" id="note-fr1-2"&gt;2.&lt;/a&gt; &lt;span data-paragraph-id="31473" data-sentence-id="31474" class="ldml-sentence"&gt;This County also sought to adjudicate a second child of &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s, K.D.'s half-&lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, dependent and neglected.&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;